Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 1 of 6
Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 2 of 6
Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 3 of 6
Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 4 of 6
Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 5 of 6
Case 04-01911   Doc 1   Filed 01/26/04 Entered 03/31/04 11:03:04   Desc Adversary
                              Complaint Page 6 of 6
